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 9
                                      UNITED STATES DISTRICT COURT
10
                                          DISTRICT OF NEVADA
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12    AMATEUR ATHLETIC UNION OF THE
      UNITED STATES, INC.,                                  CASE NO.: 2:23-cv-00864-ART-BNW
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                         Plaintiff,
14                                                          ORDER GRANTING
      v.
15                                                          STIPULATION TO EXTEND AUGUST 9,
      ESTATE OF MATTHEW WILLIAMS; JAM                       2024 DEADLINE TO MEET AND
16    ON IT BASKETBALL ACADEMY, INC.;                       CONFER AND ATTEND STATUS
      JAM ON IT, LLC; JAM ON IT SPORTSPLEX,                 HEARING
17    LLC; MICHAEL WILLIAMS; ENNIS
      WESLEY; TATIANA WESLEY; BRENNAN
18    SULLIVAN; SPORTSPLEX LAS VEGAS,                       (FIRST REQUEST)
      LLC; JOHN DOES 1-10 AND DOE CORPS.
19    1-10,
20                       Defendants,
21    AND RELATED ACTIONS.
22
             At the preliminary injunction hearing on February 26, 2024, the Court ordered the parties
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      to meet and confer by March 8, 2024 about certain topics related to AAU’s motion for
24
      preliminary injunction. On March 6, 2024, the parties filed a Stipulation and Order to Extend
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      Discovery (Second Request), explaining that the March 8, 2024 date was not feasible because Mr.
26
      Williams passed away on March 3, 2024, and Mr. Williams’ lawyers needed determine who will
27
      be representing the estate and be their point of contact for the corporate Jam On It Defendants as
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 1    this case moves forward. ECF No. 69. The parties further explained that until that person was
 2    identified and appointed, counsel for Mr. Williams lacked a client who could agree to terms at a
 3    meet and confer. Id. As such, the parties requested a 90 day extension of discovery. Id. The
 4    parties also stipulated that the March 8,2024 deadline for them to meet and confer as to the issues
 5    raised during the February 26, 2024 preliminary injunction hearing be extended to April 8, 2024,
 6    and that the court continue the March 28, 2024 status conference to a date after April 8, 2024. Id.
 7    On March 7, 2024, the Court granted the parties’ stipulation. ECF No. 70.
 8           On April 8, 2024, the parties filed a Stipulation to Extend April 8, 2024 Deadline to Meet
 9    and Confer and Attend Status Hearing (First Request). ECF No. 74. In that Stipulation, counsel
10    for Jam On It Defendants represented to the Court that an administrator has not yet been
11    appointed for Mr. Williams’ estate, and the Jam On It Defendants did not have a contact person
12    for Mr. Williams’ estate. Id. Counsel further represented that because Mr. Williams’ estate did
13    not have a representative, counsel for Jam On It Defendants did not have direction to represent
14    two of the entities for which Mr. Williams was the point of contact: Jam On It, LLC and Jam On
15    It Sportsplex, LLC (a dissolved entity). Id. Counsel for Jam On It Defendants further represented
16    that Mr. Clint Welch is now the President of Defendant Jam On It Basketball Academy, Inc. (in
17    place of Mr. Williams). Id. Based on these facts, the parties respectfully requested that the April
18    8, 2024 deadline for them to meet and confer as to the issues raised during the February 26, 2024,
19    hearing be extended for a period of 60 days, until June 10, 2024, and continue the April 11, 2024
20    status conference to a date after June 10, 2024. Id.
21           On April 9, 2024, the Court granted the Stipulation and ordered that the April 8, 2024,
22    deadline for the parties to meet and confer as to the issues raised during the February 26, 2024,
23    hearing be extended for a period of 60 days, until June 10, 2024. ECF No. 75. The Court further
24    ordered that the status conference scheduled for April 11, 2024, at 11:00 a.m. be vacated and be
25    rescheduled to Friday, June 21, 2024, at 1:00 p.m. Id.
26           On May 7, 2024, Jam On It Basketball Academy, Inc. filed a Suggestion of Death on the
27    Record (ECF No. 78). On May 24, 2024, the parties filed a Stipulation and Order to Amend
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 1    Caption to add the Estate of Matthew Williams as a party (ECF No. 81), and also filed a
 2    Stipulation and Order to Extend Discovery (Third Request) to extend case management deadlines
 3    based partially on the fact that all parties to this action are attending a mediation on June 13,
 4    2024. ECF No. 80. The Court granted both of these Stipulations on May 29, 2024. ECF Nos.
 5    82 and 84.
 6           On June 7, 2024, the parties filed a Stipulation to Extend August June 10, 2024 Deadline
 7    to Meet and Confer and Attend Status Hearing (First Request). ECF No. 85. In that Stipulation,
 8    the parties requested that the June 10, 2024 deadline for them to meet and confer as to the issues
 9    raised during the February 26, 2024, hearing be extended for a period of 60 days, until August 9,
10    2024, and continue the June 21, 2024 status conference to a date after August 9, 2024. Id. The
11    basis for the stipulation was that the parties were attending a mediation on June 13, 2024, and that
12    case management deadlines had been extended in ECF No. 84. Id.
13           On June 7, 2024, the Court granted the Stipulation and ordered that the June 10, 2024,
14    deadline for the parties to meet and confer as to the issues raised during the February 26, 2024,
15    hearing be extended for a period of 60 days, until August 9, 2024. ECF No. 86. In a Minute
16    Order entered on June 11, 2024, the Court continued the status conference scheduled for Friday,
17    June 21, 2024, at 1:00 p.m. to Friday, August 16, 2024 at 10.a.m. ECF No. 87.
18           On June 13, 2024, the parties attended a mediation with Honorable Judge James Hardesty.
19    Since that date, the parties have been negotiating terms for a settlement with the assistance of
20    Judge Hardesty and have had many rounds of negotiations. Without waiving any rights or
21    remedies or disclosing any settlement terms, the parties disclose that they are in the process of
22    preparing settlement documents for review and comment and would like to focus their resources
23    on attempting to resolve this action via a negotiated settlement.
24           In light of the foregoing, the parties respectfully request that the August 9, 2024 deadline
25    for them to meet and confer as to the issues raised during the February 26, 2024, hearing be
26    extended for a period of 60 days, until October 8, 2024, and continue the August 16, 2024 status
27    conference to a date after October 8, 2024.
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 1           This Stipulation is made for good cause and not for the purpose of delay.
 2           IT IS SO STIPULATED:
 3           This 31st day of July, 2024.
 4           WILSON ELSER                           BROWNSTEIN HYATT FARBER
 5                                                  SCHRECK, LLP

 6
             By: /s/ Michael P. Lowry              By: /s/ Matthew D. Francis
 7           Michael P. Lowry                      Matthew D. Francis
             6689 Las Vegas Blvd., South           Arthur A. Zorio
 8
             Suite 200                             5520 Kietzke Lane, Suite 110
 9           Las Vegas, Nevada 89119               Reno, Nevada 89511
             Attorneys for Amateur Athletic        Attorneys for the Estate of Matthew Williams,
10           Union of the United States            Jam On It Basketball Academy, Inc.,
                                                   Jam On It, LLC, and Jam On It Sportsplex, LLC
11
             BEN’S LAW                              Michael Mee
12

13
             By: /s/ Stefany “Miley” Tewell         By: /s/ Michael Mee
14           Stephany “Miley” Tewell                Michael Mee
             Ben Lehavi                             400 South 4th Street, Suite 500
15           5940 South Rainbow Blvd.               Las Vegas, Nevada 89104
             Las Vegas, Nevada 89118                Attorneys for Ennis Wesley, Tatiana Wesley
16
             Attorneys for Michael Williams         Sportsplex Las Vegas, LLC
17           Brennan Sullivan
                                                   ORDER
18

19            Based on the parties' stipulation, the August 9, 2024, deadline for the parties to meet and
      confer as to the issues raised during the February 26, 2024, hearing is extended to Tuesday,
20    October 8, 2024, and the current status conference scheduled for August 16, 2024, at 10:00 a.m.,
      is vacated and rescheduled to Friday, October 18, 2024, at 11:00 a.m. before U.S. District Judge
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      Anne R. Traum in a Las Vegas courtroom to be determined.
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24                                                                Anne R. Traum
                                                                  United States District Judge
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26                                                                DATED: August 1, 2024

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